UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Anthony Guidera, on behalf of himself and others
similarly situated in the proposed FLSA Collective
Action,                                                            Case No.:

                                             Plaintiff,
                                                                   Jury Trial Demanded
                  - against -                                      COMPLAINT
Noom, Inc., and Mark Simon,

                                              Defendants.
--------------------------------------------------------------X

        Plaintiff Anthony Guidera (“Plaintiff” or “Guidera”), on behalf of himself and others

similarly situated, by and through his attorneys, Levin-Epstein & Associates, P.C., upon personal

knowledge as to himself and upon information and belief as to others, brings this complaint

against Defendants Noom, Inc., (the Corporate Defendant”), and Mark Simon (the “Individual

Defendant”, and collectively with the Corporate Defendant, the “Defendants”) and states as

follows:

                                       NATURE OF THE ACTION

           1.     Plaintiff brings this lawsuit seeking recovery, for himself and all other similarly

situated individuals, against Defendants’ violations of the Fair Labor Standards Act, 29 U.S.C. §§

201 et seq. (“FLSA”), and violations of Articles 6 and 19 of the New York State Labor Law

(“NYLL”) and their supporting New York State Department of Labor regulations.

           2.     Plaintiff seeks injunctive and declaratory relief and to recover unpaid minimum

wages, unpaid overtime wages, liquidated and statutory damages, pre- and post-judgment interest,

and attorneys' fees and costs pursuant to the FLSA, NYLL, and the NYLL's Wage Theft

Prevention Act ("WTPA").

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                                 JURISDICTION AND VENUE

       3.      The Court has subject matter jurisdiction of this case pursuant to 29 U.S.C. § 216

(b), 28 U.S.C. § 1331 and 28 U.S.C. § 1337, and has supplemental jurisdiction over Plaintiff’s

claims under the NYLL pursuant to 28 U.S.C. § 1367(a).

       4.      This Court has federal question jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1331 because his claims arise under the FLSA.

       5.      Venue is proper in this District under 28 U.S.C. § 1391(b) and (c), because all

events relevant to this action occurred in this District, and the acts and omissions giving rise to

the claims herein alleged took place in this District.

                                          THE PARTIES

PLAINTIFF ANTHONY GUIDERA

       6.      Plaintiff was employed as a health coach and home health aide at Defendants’

weight management company known as “Noom” from approximately July 2019 through and

including June 2021.

       7.      Plaintiff was employed as a non-managerial employee for Defendants from July

2019 through and including June 2021.

       8.      At all relevant times, Plaintiff has been an employee within the meaning of Section

3(e) of the FLSA, 29 U.S.C. § 203(e).

DEFENDANT NOOM, INC.

       9.      Upon information and belief, Defendant Noom, Inc. is a foreign corporation

organized and existing under the laws of Delaware.

       10.     Upon information and belief, Defendant Noom, Inc. is licensed to do business in

the State of New York, and at all relevant times here to, maintained a principal place of business

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at 229 West 28th Street, 9th Floor, New York, NY, 10001.

       11.     At all times relevant to this Complaint, Defendant Noom, Inc. (i) has had and

continues to have employees engaged in commerce or in the production of goods and services for

commerce and handling, selling, or otherwise working on goods or materials that have been

moved in or produced for commerce by any person and (ii) has had and continues to have an

annual gross volume of sales of not less than $500,000.00.

       12.     At all times relevant to this Complaint, Defendant Noom, Inc. was and is a covered

employer within the meaning of the FLSA, 29 U.S.C. § 203(d) and, at all times relevant to this

Complaint, employed employees, including Plaintiff.

       13.     At all times relevant to this Complaint, Defendant Noom, Inc. was and is an

employer within the meaning of the 29 U.S.C. 201 et seq. and NYLL Section 190(3), and

employed employees, including Plaintiff.

       14.     The true name of Defendant Noom, Inc. is unknown to Plaintiff at this time, and

Plaintiff will seek leave to amend this Complaint to state its true name when it has been

ascertained.

DEFENDANT MARK SIMON

       15.     Defendant Mark Simon is an individual engaging (or who have engaged) in

business within this judicial district during the relevant time period.

       16.     Defendant Mark Simon is sued individually and in his capacity as an owner, officer

and/or agent of the Corporate Defendant.

       17.     Defendant Mark Simon possesses or possessed operational control over the

Corporate Defendant, or controlled significant functions of the Corporate Defendant.

       18.     Defendant Mark Simon determined the wages and compensation of employees,


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including Plaintiff, established the schedules of employees, maintained employee records, and

had the authority to hire and fire employees.

          19.   At all times relevant to this Complaint, Defendant Mark Simon has been and is an

employer within the meaning of the 29 U.S.C. 201 et seq. and NYLL Section 190(3), and

employed employees, including Plaintiff.

DEFENDANTS CONSTITUTE JOINT EMPLOYERS

          20.   Defendants own, operate and/or control the weight management company located

at 229 West 28th Street, 9th Floor, New York, NY, 10001 (i.e., Noom).

          21.   The Individual Defendant possesses operational control over the Corporate

Defendant, possesses an ownership interest in the Corporate Defendant, and controls significant

functions of the Corporate Defendant.

          22.   Defendants are associated and joint employers, act in the interest of each other

with respect to employees, pay employees by the same method, and share control over the

employees.

          23.   Each Defendant possessed substantial control over Plaintiff’s (and other similarly

situated employees’) working conditions, and over the policies and practices with respect to the

employment and compensation of Plaintiff, and all similarly situated individuals, referred to

herein.

          24.   Defendants jointly employed Plaintiff, and all similarly situated individuals, and

are Plaintiff’s (and all similarly situated individuals’) employers within the meaning of 29 U.S.C.

201 et seq. and the NYLL.

          25.   In the alternative, Defendants constitute a single employer of Plaintiff and/or

similarly situated individuals.

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        26.      Upon information and belief, the Individual Defendant operates the Corporate

Defendant as either an alter ego of himself, and/or fails to operate the Corporate Defendant as an

entity legally separate and apart from himself, by, among other things:

        a.      failing to adhere to the corporate formalities necessary to operate the Corporate

                Defendant a separate and legally distinct entity;

        b.      defectively forming or maintaining the Corporate Defendant, by among other

                things failing to hold annual meetings or maintaining appropriate corporate

                records;

        c.      transferring assets and debts freely as between all Defendants;

        d.      operating the Corporate Defendant for their own benefit as the majority

                shareGuidera;

        e.      operating the Corporate Defendant for their own benefit and maintaining control

                over it as a closed corporation or closely controlled entity;

        f.      intermingling assets and debts of their own with the Corporate Defendant;

        g.      diminishing and/or transferring assets of the Corporate Defendant to protect their

                own interests; and

        h.      other actions evincing a failure to adhere to the corporate form.

        27.     At all relevant times, Defendants were Plaintiff’s employers within the meaning of

the FLSA and NYLL.

        28.     Defendants had the power to hire and fire Plaintiff, control the terms and

conditions of employment, and determine the rate and method of any compensation in exchange

for Plaintiff’s services.




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                                  FACTUAL ALLEGATIONS

       29.     Plaintiff and other similarly situated individuals are individuals who have worked

for Defendants in similarly-titled, hourly paid position, during the statutory period.

       30.     Plaintiff and other similarly situated individuals all shared similar job titles,

training, job descriptions and job tasks, during the statutory period.

       31.     Plaintiff was an employee of Defendants.

       32.     Plaintiff was employed as health coach and home health aide at Noom from

approximately July 2019 through and including June 2021.

       33.     From approximately July 2019 through and including February 2020, Plaintiff

worked at Noom as a health coach as follows: five (5) days per week from approximately 7:00

a.m. to 4:00 p.m. (i.e., approximately 9 hours per day), for a total period of approximately 45

hours during each of the weeks, respectively.

       34.     From approximately March 2020 through and including June 2021, Plaintiff

worked at Noom as a health coach and home health aide, and was required to be on call at a

residence owned by the Individual Defendant, twenty-four (24) hours a day, seven (7) days per

week, to perform home health aide services, as well as health coach services.

       35.     From approximately March 2020 through and including June 2020, Plaintiff’s

health coach and home health aide services were performed at a residence owned by the Individual

Defendant in Kissimmee, Florida.

       36.     From approximately July 2020 through and including June 2021, Plaintiff’s health

coach and home health aide services were performed at a residence owned by the Individual

Defendant in New York, New York.

       37.     Plaintiff’s responsibilities as a home health aide included, inter alia: providing

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direct support to a patient, assisting with administering medication, assisting with the maintenance

of good personal hygiene (such as helping with bathing, dressing, and using the restroom),

cooking and cleaning, assisting with daily household tasks, accompanying the patient to

appointments, accompanying the patient to errands, answering and returning phone calls, tending

to emergencies, and being “on-call” as-needed.

          38.   Plaintiff regularly handled goods in interstate commerce, such as cleaning

supplies, and garbage bags which were necessary to perform his duties as a home health aide.

          39.   Plaintiff regularly transacted in interstate commerce by communicating and

coaching clients across state lines, to perform his duties as a health coach.

          40.   Plaintiff’s work duties required neither discretion nor independent judgment.

          41.   From approximately July 2019 through and including June 2021, Defendants paid

Plaintiff a flat salary of $450 to $500 per week.

          42.   Defendants did not state the correct gross wages, as defined by NYLL, for any

employee on any pay statement as required by NYLL or deductions from the correct gross wages.

          43.   Plaintiff was not required to keep track of his time, nor to his knowledge, did the

Defendants utilize any time tracking device, such as sign in sheets or punch cards, that accurately

reflected his actual hours worked.

          44.   No notification, either in the form of posted notices, or other means, was ever given

to Plaintiff regarding wages are required under the FLSA or NYLL.

          45.   Defendants did not provide Plaintiff a statement of wages, as required by NYLL

195(3).

          46.   Defendants did not give any notice to Plaintiff of his rate of pay, employer’s

regular pay day, and such other information as required by NYLL § 195(1).

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       47.     At all relevant times, Defendants did not pay Plaintiff at the rate of one and one-

half times his hourly wage rate for hours worked in excess of forty per workweek.

                        FLSA COLLECTIVE ACTION ALLEGATIONS

       48.     Plaintiff brings the First and Second Claims for Relief as a collective action

pursuant to FLSA §16(b), 29 U.S.C. §216(b), on behalf of all non-exempt persons (including but

not limited to general workers) employed by Defendants on or after the date that is three years

before filing of the Complaint in this case, as defined herein (“FLSA Collective Plaintiffs”).

       49.     At all relevant times, Plaintiff and FLSA Collective Plaintiffs are and have been

similarly situated, have had substantially similar job requirements and pay provisions, and are and

have been subject to Defendants’ decision, policy, plan and common policies, programs, practices,

procedures, protocols, routines and rules willfully failing and refusing to pay them at the legally

required overtime wage for all hours worked over 40 hours per week. These claims of the Plaintiff

are essentially the same as those of the FLSA Collective Plaintiffs.

       50.     The First and Second Claims for Relief are properly brought under and maintained

as an opt-in collective action pursuant to under FLSA §16(b), 29 U.S.C. §216(b). The FLSA

Collective Plaintiffs are readily ascertainable. For purpose of notice and others related to this

action, their names and addresses are readily available from the Defendants. Notice can be

provided to the FLSA Collective Plaintiffs via first class mail to the last address known to

Defendants

       51.     Plaintiff reserves the right to re-define the FLSA Collective Plaintiffs prior to

notice or collective certification, and thereafter, as necessary.

                                    FIRST CLAIM
                  (FLSA – Unpaid Minimum Wages, 29 U.S.C. § 201 et seq.)

       52.     Plaintiffs repeat and incorporate all foregoing paragraphs as if fully set forth
                                                   8
herein.

          53.   Defendants willfully and intentionally failed to compensate the Plaintiff with the

applicable minimum hourly wage in violation of the FLSA, 29 U.S. Code § 206.

          54.   Defendants have failed to make a good faith effort to comply with the FLSA with

respect to compensation of Plaintiffs.

          55.   Due to Defendants’ violations of the FLSA, Plaintiffs, on behalf of themselves and

FLSA Collective Plaintiffs, are entitled to recover from Defendants, jointly and severally, their

unpaid minimum wages and an equal amount in the form of liquidated damages, as well as

reasonable attorneys’ fees and costs of the action, pursuant to the FLSA, all in an amount to be

determined at trial. 29 U.S.C. § 216(b).

                                   SECOND CLAIM
                  (FLSA – Unpaid Overtime Wages, 29 U.S.C. §§ 201 et seq.)

          56.   Plaintiffs repeat and incorporate all foregoing paragraphs as if fully set forth

herein.

          57.   At all relevant times to this action, Plaintiffs are covered, non-exempt employees

within the meaning of the FLSA.

          58.   Defendants were required to pay Plaintiffs one and one-half (1 1/2) times the

regular rate at which Plaintiffs were employed for all hours worked in excess of forty hours in a

workweek pursuant to the overtime wage provisions set forth in the FLSA, 29 U.S.C. § 207, et

seq.

          59.   Defendants failed to pay Plaintiffs the overtime wages to which they are entitled

under the FLSA.

          60.   Defendants willfully violated the FLSA by knowingly and intentionally failing to

pay Plaintiffs overtime wages.
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          61.   Due to Defendants’ willful violations of the FLSA, Plaintiffs, on behalf of

themselves and FLSA Collective Plaintiffs, are entitled to recover their unpaid overtime wages,

liquidated damages, reasonable attorney’s fees and cost of the action and pre-judgment and post-

judgment interest.

                                    THIRD CLAIM
                  (NYLL – Unpaid Minimum Wages, N.Y. Stat. § 650 et seq.)

          62.   Plaintiffs repeat and incorporate all foregoing paragraphs as if fully set forth

herein.

          63.   Defendants willfully and intentionally failed to compensate the Plaintiffs with the

applicable minimum hourly wage in violation of the NYLL §650 et seq.

          64.   Defendants have failed to make a good faith effort to comply with the NYLL with

respect to compensation of Plaintiffs.

          65.   Due to Defendants’ violations of the NYLL, Plaintiffs, on behalf of themselves

and FLSA Collective Plaintiffs, are entitled to recover from Defendants, jointly and severally,

their unpaid minimum wages and an equal amount in the form of liquidated damages, as well as

reasonable attorneys’ fees and costs of the action, in an amount to be determined at trial, pursuant

to the NYLL § 663.


                                     FOURTH CLAIM
                               (NYLL – Unpaid Overtime Wages)

          66.   Plaintiffs repeat and incorporate all foregoing paragraphs as if fully set forth

herein.

          67.   Plaintiffs are covered, non-exempt employees within the meaning of the NYLL

and supporting New York Department of Labor (“NYDOL”) Regulations.


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          68.   Under the NYLL and supporting NYDOL Regulations, Defendants are required to

pay Plaintiffs one and one half times the regular rate of pay, which shall not be less than the

minimum wage, for all hours they worked in excess of forty.

          69.   Defendants failed to pay Plaintiffs the overtime wages to which they are entitled

under the NYLL.

          70.   Defendants willfully violated the NYLL by knowingly and intentionally failing to

pay Plaintiffs overtime wages.

          71.   Due to Defendants’ willful violations of the NYLL, Plaintiffs are entitled to

recover their unpaid overtime wages, liquidated damages, reasonable attorney’s fees and cost of

the action and pre-judgment and post-judgment interest.

                                   FIFTH CLAIM
                       (NYLL WTPA– Failure to Provide Wage Notices)

          72.   Plaintiffs repeat and incorporate all foregoing paragraphs as if fully set forth

herein.

          73.   The NYLL and the WTPA require employers to provide all employees with a

written notice of wage rates at the time of hire.

          74.   In violation of NYLL §195 (1), Defendants failed to furnish to Plaintiffs at the time

of hiring, or whenever their rate(s) of pay changed, with a wage notice containing the rate or rates

of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or

other, allowances, if any, claimed as part of the minimum wage, including tip, meal, or lodging

allowances; the regular pay day designated by the employer in accordance with NYLL §191; the

name of the employer; any “doing business as” names used by the employer; the physical address

of the employer’s main office or principal place of business, and a mailing address, if different;

the telephone number of the employer, and anything otherwise required by law.
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          75.   Due to Defendants’ violations of NYLL §195 (1), Plaintiffs are entitled to recover

their liquidated damages, reasonable attorney’s fees and cost and disbursement of the action,

pursuant to the NYLL §198 (1-b).

                                       SIXTH CLAIM
                  (Violation of the Wage Statement Provisions of the NYLL)

          76.   Plaintiffs repeat and incorporate all foregoing paragraphs as if fully set forth herein.

          77.   With each payment of wages, Defendants failed to provide Plaintiffs with a

statement listing each of the following the dates of work covered by the payment of wages; name

of employee; name of employer; address and phone number of employer; rate or rates of pay and

basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other; gross

wages; deductions; allowances, if any, claimed as part of the minimum wage; the number of

regular hours worked; the number of overtime hours worked, as required by the NYLL § 195(3).

          78.   As a result of Defendant’s violation of the WTPA, Plaintiffs are entitled to

damages of at least $150 per week during which the violations occurred.

                                        SEVENTH CLAIM
                                  (Failure to Pay Timely Wages)

          79.   Plaintiffs repeat and incorporate all foregoing paragraphs as if fully set forth

herein.

          80.   NYLL § 191(1)(a) prohibits employers from paying manual workers at no less

than on a weekly basis.

          81.   As described above, throughout their employment with Defendants, Plaintiffs were

underpaid their wages each week.

          82.   As a result of Defendants’ violation of NYLL § 191(1)(a), Plaintiffs are entitled to

recover their liquidated damages, reasonable attorney’s fees and cost and disbursement of the

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action, pursuant to the NYLL §198 (1-a).


                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs, on behalf of themselves and FLSA Collective Plaintiffs,
respectfully requests that this Court enter a judgment:
       a.      authorizing Plaintiffs at the earliest possible time to give notice of this collective
               action, or that the Court issue such notice, to all persons who are presently, or have
               up through the extent allowable under the statute of limitations and including the
               date of issuance of court-supervised notice, been employed by Defendants as
               nonexempt employees. Such notice shall inform them that the civil notice has been
               filed, of the nature of the action, of their right to join this lawsuit if they believe
               they were denied minimum wages and premium overtime wages;
       b.      certification of this case as a collective action pursuant to the FLSA;
       c.      issuance of notice pursuant to 29 U.S.C. § 216(b), to all similarly situated members
               of the FLSA opt-in class, apprising them of the pendency of this action, and
               permitting them to assert timely FLSA claims and state claims in this action by
               filing individual Consent to Sue forms pursuant to 29 U.S.C. § 216(b), and
               appointing Plaintiffs and their counsel to represent the FLSA Collective Plaintiffs;
       d.      declaring that Defendants violated the minimum wage provisions of the FLSA, the
               NYLL and the NYDOL regulations;
       e.      declaring that Defendants violated the overtime wage provisions of the FLSA, the
               NYLL and the NYDOL regulations;
       f.      declaring that Defendants violated the notice statement pay provisions of the
               NYLL and WTPA;
       g.      awarding Plaintiffs unpaid minimum wages;
       h.      awarding Plaintiffs unpaid overtime wages;
       i.      awarding unpaid wages under New York State law for failure to pay timely wages;
       j.      awarding Plaintiffs liquidated damages in an amount equal to the total amount of
               wages found to be due;
       k.      awarding unpaid wages under the NYLL and the New York State contract law;

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      l.    awarding Plaintiffs statutory damages as a result of Defendants’ failure to furnish
            accurate wage notice pursuant to the NYLL;
      m.    rewarding Plaintiffs pre- and post-judgment interest under the NYLL;
      n.    awarding Plaintiffs reasonable attorneys’ fees and the costs and disbursements of
            this action; and
      o.    Such other relief as this Court deems just and proper.



Dated: New York, New York
       November 29, 2022

                                             Respectfully submitted,


                                             By: /s/ Joshua Levin-Epstein
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